                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

CLIFFORD F. TUTTLE, JR., et al.                 §
                                                §
versus                                          §      Civil Action 4:21-cv-270
                                                §
CITY OF HOUSTON, et al.                         §
                                                §


                                       SCHEDULING ORDER


1. October 30, 2023         AMENDMENTS TO PLEADINGS AND ADDITION OF
                            NEW PARTIES.
                            Party requesting joinder will furnish a copy of this scheduling order
                            to new parties.

2a. January 15, 2024        EXPERTS
                            Plaintiff, or party with the burden of proof, will designate expert
                            witnesses in writing, listing the qualifications of each expert, the
                            opinions the expert will present, and the bases for the opinions as
                            required under Federal Rule of Civil Procedure 26(A)(2).

2b. February 15, 2024       Defendant, or party without the burden of proof, will designate
                            expert witnesses in writing, listing the qualifications of each expert,
                            the opinions the expert will present, and the bases for the opinions
                            as required under Federal Rule of Civil Procedure 26(A)(2).3.


3. March 1, 2024            FACT DISCOVERY
                            Fact discovery must be completed by this date. Counsel may, by
                            agreement continue discovery beyond the deadline.                No
                            continuance will be granted because of information acquired in post-
                            deadline discovery.

4. April 30, 2024           EXPERT DISCOVERY
                            Expert discovery must be completed by this date. Counsel may, by
                            agreement continue discovery beyond the deadline. No continuance
                            will be granted because of information acquired in post-deadline
                            discovery.
5. July 1, 2024               MOTIONS DEADLINE
                              Motions for Summary Judgment and any motion challenging an
                              expert witness (only motions in limine on issues other than experts
                              may be filed after this date) must be filed by this date. The motion
                              deadline may not be changed by agreement.

                              JOINT PRETRIAL ORDER
6a. September 16, 2024        THE DEFENDANT shall supply the Plaintiff with a final version of
                              its pretrial order by this date. (Where available, Defendant should
                              supply Plaintiff with an electronic copy.)

6b. September 30, 2024        THE PLAINTIFF is responsible for filing the pretrial order on this
                              date. All Motions in Limine must also be filed by this date.

7. ________________           DOCKET CALL is set at 1:30 p.m. in Courtroom 8C.

8. ________________           TRIAL is set at 9:00 a.m. in Courtroom 8C. Case is subject to
                              being called to trial on short notice during the two week period
                              beginning on this date.

The Clerk shall enter this Order and provide a copy to all parties.

SIGNED on ____________________, at Houston, Texas.


                                                             ___________________________
                                                             Hon. Alfred H. Bennett
                                                             United States District Judge
